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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
                 v.                              )
                                                 )
RICHARD W. GATES III,                            )            Crim. No. 17-201-2 (ABJ)
                                                 )
                 Defendant.                      )            FILED UNDER SEAL


                                      NOTICE OF FILING

       Defendant Richard W. Gates III, by and through counsel, respectfully advises the Court

that with this filing, the necessary documents have been executed and docketed in this case as

required by this Court’s January 4, 2018 Order, ECF # 132 (“January 4 Order”), see January 4

Order at 3, ¶¶ B-E, a redacted public version of which was issued on January 9, 2018, ECF #

138. We submit that the attached documents complete the requirements set forth in the January

4 Order. See Exhibit 1 hereto. As such, pursuant to the January 4 Order, Mr. Gates respectfully

requests the Court now issue the “separate order releasing defendant from the condition of

permanent home confinement in Richmond, Virginia” and ordering the conditions set forth in the

January 4 Order, with certain clarifications as described and contemplated in the Court’s January

10, 2018, Minute Order. The original copies of the attached documentation have been signed by

Mr. Gates and all other necessary parties, i.e., the specified pledgors and surety, as well as the

relevant Clerk’s Offices and Recorder of Deeds. Original copies of the attached documents were

hand-delivered to and received by the Clerk of the U.S. District Court for the District of

Columbia (D.C. Clerk) on Thursday, January 11, 2018. The attached documentation consists of

the following:
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1. Executed agreement to forfeit the real property owned by Richard W. Gates III and

                       on              Avenue, Richmond, VA 23226 and related

   documents, see Exhibit 1, Attachment A (originals submitted to D.C. Clerk);

2. Executed agreement to forfeit the real property owned by                              and

                 on                    , Prince George, VA 23875 and related documents,

   see Exhibit 1, Attachment B (originals submitted to D.C. Clerk);

3. Executed agreement to forfeit the real property owned by           and                 on

                      , Midlothian, VA 23113, see Exhibit 1, Attachment C (originals

   submitted to D.C. Clerk);

4. Executed agreement to forfeit the Richard W. Gates III                                      ,

   the                           accounts owned by Richard W. Gates III for

                               , the           retirement and non-retirement accounts in the

   names of Richard W. Gates III and                           the          Individual

   Retirement Account in the name of Richard W. Gates III, and the                investment

   account in the name of Richard W. Gates III and related documents, see Exhibit 1,

   Attachment D (originals submitted to D.C. Clerk);

5. Executed surety appearance bond executed by                       , see Exhibit 1,

   Attachment E (originals submitted to D.C. Clerk);

6. General account information referencing early and non-qualified withdrawals for Mr.

   Gates’s         retirement account, see Exhibit 1, Attachment F;

7. General account information referencing early and non-qualified withdrawals for Mr.

   Gates’s     accounts, see Exhibit 1, Attachment G;




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       8. Terms and conditions for Mr. Gates’s                        brokerage account, see

           Exhibit 1, Attachment H;

       9. Prospectus for Mr. Gates’s         Fund account, see Exhibit 1, Attachment I; and

       10. General account information for Mr. Gates’s         retirement account, see Exhibit

           1, Attachment J

       Given that the necessary documentation has been executed and docketed in this case, Mr.

Gates respectfully submits that the Court should now issue its order releasing him from home

confinement under 18 U.S.C. § 3142(c) pursuant to its January 4 Order.

                                            Respectfully submitted,


                                            _/s/Shanlon Wu_______________
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